Case 7:21-cv-00418-JPJ-PMS Document1 Filed 06/08/21 Page1of25 Pageid#: 1

AO 242 (Rev. 09.17) Petition fora Writ of Habeas Corpus Under 28 U.S.C. § 2241

UNITED STATES DISTRICT COURT

for the
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‘. “4 1j )
Wilham Rocorayegs
Petitioner )
ne ; Case No,
) (Supplied by Clerk of Court)
)
)

DAWA RATLIME WALKER WARDEN
esponden
(name of warden or authorized asin having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

1. (a) Your full name: (a | i Ay V| (2 } CHAD ROGCCPAK ¢ ry

(b) Other names you have used: QAGERS TA ROGCPOULGS LEGAL MAME CHANGE PROK tk CAME. MA
2: Place of confinement: \/A.))(C .

(a) Name of institution: _/) (CCU) COPRETIONAC CKYIER

(o) Address: BX 670 Duchy), VA AIIR

(c) Your identification number: }&] 5 Q) 9

3: Are you currently being held on orders by:
(Federal authorities J State authorities _ (7 Other - explain:
4, Are you currently:

OA pretrial detainee (waiting for trial on criminal charges)
®Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
If you are currently serving a sentence, provide:

(a) Name and location of court that sentenced you: Api MA 7 UX E Lie UT CO [fe]

(b} Docket number of criminal case:

(c) Date of sentencing: © -| f= gd RELEAVK Dare C ~F ~2]

Being held on an immigration charge

‘J Other (explain): NETA INER U/Af OF MEXUS CNA Gla (s STATE MAW.

Decision or Action You Are Challenging

5. What are you challenging in this petition:
CiHow your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,

revocation or calculation of good time credits)

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Pretrial detention

ClImmigration detention

$3 Detainer

OThe validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

Disciplinary proceedings

Other explain):

6. Provide more information about the decision or action you are challenging:
(a) Name and location of the agency or court: UU. + ) ! dT. COURT HOSE STE o 300
ONE CONTHAISE WAy [SaSTON, MA 099/0- 3002

(b) Docket number, case number, or opinion number:
(c) Decision or action you are challenging (for disciplinary proceedings, specifi’ the penalties imposed):

(d) Date of the decision or action:

Your Earlier Challenges of the Decision or Action

7. First appeal MA
Did you appeal the decision, file a grievance, or seek an administrative remedy?
Yes CINo
(a) If “Yes,” provide:
(1) Name of the authority, agency. or court:

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

(b) If you answered “No,” explain why you did not appeal: Af / fj

8. Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court?
WYes TINo

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(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

(2) Date of filing:
(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result: Mi

(6) Issues raised:

(b) If you answered “No,” explain why you did not file a second appeal:

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
{FYes OINo
(a) If “Yes,” provide:
, (1) Name of the authority, agency, or court:

(2) Date of filing:

(3) Docket number, case number, or opinion number: N [A
(4) Result:

(5) Date of result:

(6) Issues raised:

(b) If you answered “No,” explain why you did not file a third appeal:

10. Motion under 28 U.S.C. § 2255

In this petition, are you challenging the validity of your conviction or sentence as imposed?

OYes No

If “Yes,” answer the following:

(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
Yes O No

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

If “Yes,” provide:

(1) Name of court:

(2) Case number:

(3) Date of filing:

(4) Result: /
(5) Date of result: NIA

(6) Issues raised:

(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A).
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

Yes TI No

If “Yes,” provide:

(1) Name of court:

(2) Case number:

(3) Date of filing:

(4) Result: MA
(5) Date of result:

(6) Issues raised:

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your

conviction or sentence:

Appeals of immigration proceedings
Does this case concern immigration proceedings?
Yes TINo

If “Yes,” provide: MA
(a) Date you were taken into immigration custody:
(b) Date of the removal or reinstatement order:
(c) Did you file an appeal with the Board of Immigration Appeals?

Yes No

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If “Yes,” provide:
(1) Date of filing:
(2) Case number:
(3) Result:

(4) Date of result:

(5) Issues raised: N I

(d) Did you appeal the decision to the United States Court of Appeals?
Yes [I No
If “Yes,” provide:
(1) Name of court:
(2) Date of filing:
(3) Case number:
(4) Result:
(5) Date of result:

(6) Issues raised: \y/4

12. Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?
Yes No
If“Yes,” provide:
(a) Kind of petition, motion, or application:
(b) Name of the authority, agency, or court:

(c) Date of filing:
(d) Docket number, case number, or opinion number:

(ce) Result:

}
(f) Date of result: M/A

(g) Issues raised:

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE:

(a) Supporting facts (Be brief. Do not cite cases or law.):

(b) Did you present Ground One in all appeals that were available to you?
Yes TINo

GROUND TWO:

(a) Supporting facts (Be brief. Do not cite cases or law.):

(b) Did you present Ground Two in all appeals that were available to you?
Yes TINo

GROUND THREE:

(a) Supporting facts (Be brief. Do not cite cases or law):

(b) Did you present Ground Three in all appeals that were available to you?
Yes TINo

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28-U.S.C. § 2241

GROUND FOUR:

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(a) Supporting facts (Be brief, Do not cite cases or law):

(b) Did you present Ground Four in all appeals that were available to you?

Yes ONo
14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did
not:

NWA

Request for Relief

15. State exactly what you want the court to do: (2d OMN iByS Mani WU DISMI SKE
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Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. 1 understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

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Signa etitioner
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Signature of Attorney or other authorized person, if any

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ARGUMENTS
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WHAT IS YOUR COMPLAINT? (Provide information from the informal process: Attach Informal Complaint response or |
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An Informal Complaint is not required for an alleged incident of sexua} abuse.

William Roca. isa _ 6B 33-B

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{| Unit Manager’S upervisor ] Food Service [_] Institutional Program Manager
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Respondent Signature Printed Name and Title Date :

WITHDRAWAL OF INFORMAL COMPLAINT: RECEIVED
| wish to voluntarily withdraw this Informal Complaint. 1 understand that by withdrawing this Informal Complaint,
T will not receive a response nor will I be able to file any other Informal Complaint or Grievance on thigissue.§ 214

Offender Signature: Date: Ombudsman Services Unit
Central Region

S taff Witness Signature: Date:

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Revision Date: 4/28/17
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VIRGINIA DEPARTMENT OF CORRECTIONS VACORIS C - #.0 ‘> “y
= ‘i iT} DOC Location: DWCC Dillwyn Correctional 4
GC . Recei iF Center
< P R c 5 Report generated by Kinley, L
S Si Report run on 02/05/2021 at 10:20 AM
atm
co Ti Grievance Number: DWCC-21-INF-00209
© it
3 Co Next Action Date: 2/19/2021 12:00:00 AM
On this date: 02/04/2021 | have received a statement from:
Dillwyn Correctional Center
Rogopoulos, William R 1415219jof |6-B-33-B
(Offender Name and DOC#) _ (Filed Location and Housing)

Setting out the following complaint:

K. Perkins-In violation of my 14th Amand. Right/VA code Ann. 53.1-210 of the [ADA Article V9a) Warden
Walker ignored my request for final disposition of the charges (paperwork) to file returnable against the
charging state, to activate the IADA and the speed trial act, and as facility head to provide timely notice
along with proper certificates, to the Governor of VA the request for custody for a final decision to grant

or deny custody. It is the duty of the warden to give notice and provide paperwork to process timely for
detainer.

L. Kinley
DWCC Grievance Coordinator

(Signature)

Officer Initials:

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9/24/2020 Scanned Middlesex detainer into CORIS.mc

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9/23/2020 Middlesex court system shows cases pending. Left a message for Mellissa Chavez at the

Middlesex DA 781-897-8400. mc

9/23/2020 Melinda Bond inquired about detainer. mc

7/18/18 Letter sent notifying Prosecutor. It does not appear that he was notified in 2014. mc

7/13/18 Offender Refused to sign.

Sending IAD paperwork to see if offender ready to confront case in MA per M. Cale-offender previousiy

refused 6/26/2018 SG
12/5/14 Offender Refused to sign IAD paperwork.
forms I/II] sent 11/20/2014

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Ombudsman Services Unit
Central Region

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DOC Location: DWCC Dillwyn Correctional i G
Center

Report generated by Fahrner, KD
Report run on 02/10/2021 at 10:07 AM

Offender Name: Rogopoulos, William R Location: Dillwyn Correctional Center
DOC#: 1415219 Housing Assignment: 6-B-33-B

Detainer Information:

Date Issued: 06/09/2008 Date Received: 11/13/2014
Reference #: 0481CRO00968

Type: Wanted Other (Specify): Not Available

Status: Inmate Refuse Speedy Trial Close Reason: Not Available

Immigration Alien #: Not Available Judgment Modifier: Not Available

Requesting or Holding Agency Information:

Agency Name: Middlesex District Attorney Agency Type: Out of State

Agency Address: 200 Tradecenter
Woburn, Ma 01801

Agency Identifying #: Not Available Other Location Not Available

(Offender):
Offender Name at Agency: Not Available

Release/Expiration Details: Y,

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Anticipated Release / Judgment / Expiration Date of Detainer: Not Available ‘ C

ty, ‘Ga,
Offenses/Charges: Ms 0 °
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Detainer Offense: Not Available “,

Description of Criminal
Charges: two counts of indecent A&B on child under 14, 3 counts rape of child,statutory

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Ombudsman Services Unit
Central Region

Page 1 of 1 Rev. 03/30/2009
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VA CODE $3-1-216 JADA on,

21-cv-00418-JPJ-PMS Document 1 Filed 06/08/21 Page 24 of 25 Pageidiiiz24
2G

RE: INMATE REQUEST Foe EXTRADITION AMD DISPASITION OF CHARGES

10: WARDEN WALKER

DATE: 1-]3~-21

ROM: WilliAM RoGahqULGg 141S2I9

BOK: FINAL DISPAS)TION DETAWIER FORE Ci STATE

COMPLAINT: FAILURE TO GIVE NOTICE OF DEIAIMER TIMELY

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WARDEN WALKER,

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